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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 MAXINE HALL DAVIS, FREDDIE L. HALL           *             CIVIL ACTION NO. 5:14-cv-02592
 EARNEST HALL, WILLIE C. HALL, JR., and       *
 JIMMY R. HALL, SR.                           *
                                              *
 Plaintiff                                    *
                                              *
 VERSUS                                       *             JUDGE S. MAURICE HICKS
                                              *
 NEXION HEALTH AT PIERREMONT, INC.            *             MAGISTRATE MARK L.
 D/B/A PIERREMONT HEALTHCARE CENTER *                       HORNSBY
                                              *
 Defendant                                    *
 ******************************************** *

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Maxine Hall Davis, Freddie L. Hall, Earnest

 Hall, Willie C. Hall, Jr., and Jimmy R. Hall, Sr., individually and on behalf of the estate of Willie

 C. Hall, Sr. (collectively “Plaintiffs”) and Nexion Health at Pierremont Inc. d/b/a Pierremont

 Healthcare Center (‘Defendant”) stipulate to the dismissal of this action, with prejudice, and with

 all parties to bear their own costs and attorneys’ fees. Plaintiffs reserve their right to proceed

 against the Louisiana Patient’s Compensation Fund.

        WHEREFORE, Plaintiffs and Defendant respectfully request that this Court dismiss all

 claims that Plaintiffs have raised in the captioned matter against Defendant with prejudice and

 with each party to bear their own costs and attorneys’ fees.

        Respectfully submitted this 18th day of June, 2015.




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                                    Respectfully Submitted:

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                                 CERTIFICATE OF SERVICE

        In accordance with the Western District of Louisiana’s electronic filing procedures, I

 hereby certify that, on this 18th day of June, 2015, I electronically filed the foregoing with the

 Clerk of Court by using the CM/ECF system. A Notice of Electronic Filing will be sent by the

 Court to all counsel of record who have consented to email notification and electronic service.

 This document is available for viewing and downloading from the Court’s ECF system.



                                              /s/ Camille R. Bryant
                                              CAMILLE R. BRYAN




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